              Case 3:19-bk-00568-JAF         Doc 14     Filed 03/06/19     Page 1 of 16



                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION

IN RE:
          AMANDA VROBEL,                                               CASE NO.: 3:19-bk-00568

                        Debtor(s).
____________________________________________

                                        CHAPTER 13 PLAN

A.        NOTICES.

Debtor1 must check one box on each line to state whether or not the Plan includes each of
the following items. If an item is checked as “Not Included,” if both boxes are checked, or if
neither box is checked, the provision will be ineffective if set out later in the Plan.

    A limit on the amount of a secured claim based on a valuation which Included            Not Included
    may result in a partial payment or no payment at all to the secured                    
    creditor. See Sections C.5(d) and (e). A separate motion will be filed.


    Avoidance of a judicial lien or nonpossessory, nonpurchase money Included               Not Included
    security interest under 11 U.S.C. § 522(f). A separate motion will be                  
    filed. See Section C.5(e).
    Nonstandard provisions, set out in Section E.                         Included          Not Included
                                                                                           


B.        MONTHLY PLAN PAYMENTS. Plan payments include the Trustee’s fee of 10% and
          shall begin 30 days from petition filing/conversion date. Debtor shall make payments to
          the Trustee for the period of 60 months. If the Trustee does not retain the full 10%, any
          portion not retained will be disbursed to allowed claims receiving payments under the
          Plan and may cause an increased distribution to the unsecured class of creditors.

          $2,295.26 from month one (1) through sixty (60).




1
    All references to “Debtor” include and refer to both of the debtors in a case filed jointly by two
    individuals.
             Case 3:19-bk-00568-JAF       Doc 14    Filed 03/06/19     Page 2 of 16



C.     PROPOSED DISTRIBUTIONS.

       1.      ADMINISTRATIVE ATTORNEY’S FEES.


       Base Fee $3500.00 Total Paid Prepetition $500.00 Balance Due $3000.00

       MMM Fee $_________ Total Paid Prepetition $__________ Balance Due $________

       Estimated Monitoring Fee at $ 25.00 per Month for months one (1) through sixty
       (60).

       Attorney’s Fees Payable Through Plan at $325.00 Monthly for months one (1)
       through ten (10) and $250.00 for month eleven (11) (subject to adjustment).

       2.      DOMESTIC SUPPORT OBLIGATIONS (as defined in 11 U.S.C. §101(14A).

 Acct. No.                       Creditor                         Total Claim Amount
 N/A



       3.      PRIORITY CLAIMS (as defined in 11 U.S.C. § 507).


 Last Four Digits of Acct.       Creditor                         Total Claim Amount
 No.


 N/A



       4.       TRUSTEE FEES. From each payment received from Debtor, the Trustee shall
receive a fee, the percentage of which is fixed periodically by the United States Trustee.

       5.      SECURED CLAIMS. Pre-confirmation payments allocated to secured creditors
under the Plan, other than amounts allocated to cure arrearages, shall be deemed adequate
protection payments. The Trustee shall disburse adequate protection payments to secured
creditors prior to confirmation, as soon as practicable, if the Plan provides for payment to the
secured creditor, the secured creditor has filed a proof of claim or Debtor or Trustee has filed a
proof of claim for the secured creditor under § 501(c), and no objection to the claim is pending.
If Debtor’s payments under the Plan are timely paid, payments to secured creditors under the
Plan shall be deemed contractually paid on time.



                                               2
          Case 3:19-bk-00568-JAF         Doc 14      Filed 03/06/19   Page 3 of 16




      (a)     Claims Secured by Debtor’s Principal Residence Which Debtor Intends to
      Retain - Mortgage, HOA and Condo Association Payments, and Arrears, if any,
      Paid Through the Plan. If the Plan provides for curing prepetition arrearages on a
      mortgage on Debtor’s principal residence, Debtor will pay, in addition to all other sums
      due under the proposed Plan, all regular monthly postpetition mortgage payments to the
      Trustee as part of the Plan. These mortgage payments, which may be adjusted up or down
      as provided for under the loan documents, are due beginning the first due date after the
      case is filed and continuing each month thereafter. The Trustee shall pay the postpetition
      mortgage payments for Debtor’s principal residence on the following mortgage claims:

Last Four       Creditor        Collateral         Regular       Gap             Arrears
Digits of                       Address            Monthly       Payment
Acct. No.                                          Payment
N/A



      (b)    Claims Secured by Other Real Property Which Debtor Intends to Retain -
      Mortgage Payments, HOA and Condo Association Payments, and Arrears, if any, Paid
      Through the Plan. If the Plan provides to cure prepetition arrearages on a mortgage,
      Debtor will pay, in addition to all other sums due under the proposed Plan, all regular
      monthly postpetition mortgage payments to the Trustee as part of the Plan. These
      mortgage payments, which may be adjusted up or down as provided for under the loan
      documents, are due beginning the first due date after the case is filed and continuing each
      month thereafter. The Trustee shall pay the postpetition mortgage payments on the
      following mortgage claims:

Last Four       Creditor        Collateral         Regular       Gap             Arrears
Digits of                       Address            Monthly       Payment
Acct. No.                                          Payment
N/A




                                               3
           Case 3:19-bk-00568-JAF         Doc 14        Filed 03/06/19     Page 4 of 16



       (c)     Claims Secured by Real Property - Debtor Intends to Seek Mortgage
       Modification. If Debtor obtains a modification of the mortgage, the modified payments
       shall be paid through the Plan. Pending the resolution of a mortgage modification request,
       Debtor shall make the following adequate protection payments to the Trustee: (1) for
       homestead property, the lesser of 31% of gross monthly income of Debtor and non-filing
       spouse, if any (after deducting homeowners association fees), or the normal monthly
       contractual mortgage payment; or (2) for non-homestead, income-producing property,
       75% of the gross rental income generated from the property.

Last Four Digits       Creditor                       Collateral Address     Adequate
of Acct. No.                                                                 Protection Payment
9269                   Bayview            Loan        2846 Circle Ridge      $1,690.76
                       Servicing                      Drive Orange Park,
                                                      FL 32065



       (d)    Claims Secured by Real Property or Personal Property to Which Section 506
       Valuation APPLIES (Strip Down). Under 11 U.S.C. § 1322 (b)(2), this provision does
       not apply to a claim secured solely by Debtor’s principal residence. A separate motion
       to determine secured status or to value the collateral must be filed. The secured
       portion of the claim, estimated below, shall be paid. Unless otherwise stated in Section E,
       the payment through the Plan does not include payments for escrowed property taxes or
       insurance.

Last Four     Creditor      Collateral        Claim          Value         Payment        Interest
Digits of                   Descriptio        Amount                       Through        Rate
Acct. No.                   n/                                             Plan
                            Address
              Jax Postal                                                                  4.5%
7022          & Prof Cr     2013                                           $24.96(1-10)
              U             Dodge             $15,988.38     $9,000.00     $99.96(11)
                            Durango                                        $198.29(12)
                                                                           $198.32(13-
                                                                           60)



       (e)    Liens to be Avoided Under 11 U.S.C. § 522 or Stripped Off Under 11 U.S.C.
       § 506. Debtor must file a separate motion under § 522 to avoid a judicial lien or a
       nonpossessory, nonpurchase money security interest because it impairs an exemption or
       under § 506 to determine secured status and to strip a lien.

Last Four Digits of Acct.          Creditor                          Collateral Description /

                                                  4
          Case 3:19-bk-00568-JAF           Doc 14    Filed 03/06/19   Page 5 of 16



No.                                                              Address
N/A




      (f)     Claims Secured by Real Property and/or Personal Property to Which Section
      506 Valuation DOES NOT APPLY Under the Final Paragraph in 11 U.S.C.
      § 1325(a). The claims listed below were either: (1) incurred within 910 days before the
      petition date and secured by a purchase money security interest in a motor vehicle
      acquired for the personal use of Debtor; or (2) incurred within one year of the petition
      date and secured by a purchase money security interest in any other thing of value. These
      claims will be paid in full under the Plan with interest at the rate stated below.

Last Four         Creditor      Collateral         Claim         Payment         Interest
Digits of                       Description/       Amount        Through         Rate
Acct. No.                       Address                          Plan
                                                   $1,756.00                     4.5%
Unknown           Big Lots
                                Mattress                         $0.00(1-11)
                                                                 $39.89(12)
                                                                 $40.09(13-
                                                                 60)



      (g)     Claims Secured by Real or Personal Property to be Paid with Interest
      Through the Plan under 11 U.S.C. § 1322(b)(2). The following secured claims will be
      paid in full under the Plan with interest at the rate stated below.

Last Four         Creditor      Collateral         Claim         Payment         Interest
Digits of                       Description/       Amount        Through         Rate
Acct. No.                       Address                          Plan
N/A



      (h)   Claims Secured by Personal Property – Maintaining Regular Payments and
      Curing Arrearage, if any, with All Payments in Plan.

Last Four            Creditor         Collateral            Regular            Arrearage
Digits of Acct.                       Description           Contractual
No.                                                         Payment
N/A

                                               5
          Case 3:19-bk-00568-JAF         Doc 14     Filed 03/06/19     Page 6 of 16




      (i)     Secured Claims Paid Directly by Debtor. The following secured claims are
      being made via automatic debit/draft from Debtor’s depository account and are to
      continue to be paid directly to the creditor or lessor by Debtor outside the Plan via
      automatic debit/draft. The automatic stay is terminated in rem as to Debtor and in rem
      and in personam as to any codebtor as to these creditors and lessors upon the filing of this
      Plan. Nothing herein is intended to terminate or abrogate Debtor’s state law contract
      rights.

Last Four Digits of Acct.       Creditor                          Property/Collateral
No.
N/A



      (j)     Surrender of Collateral/Property that Secures a Claim. Debtor will surrender the
      following collateral/property. The automatic stay under 11 U.S.C. §§ 362(a) and 1301(a)
      is terminated in rem as to Debtor and in rem and in personam as to any codebtor as to
      these creditors upon the filing of this Plan.

Last Four Digits of Acct.       Creditor                          Collateral/Property
No.                                                               Description/Address
N/A



      (k)     Secured Claims That Debtor Does Not Intend to Pay. Debtor does not intend
      to make payments to the following secured creditors. The automatic stay is terminated in
      rem as to Debtor and in rem and in personam as to any codebtor with respect to these
      creditors upon the filing of this Plan. Debtor’s state law contract rights and defenses are
      neither terminated nor abrogated.

Last Four Digits of Acct.       Creditor                          Collateral
No.                                                               Description/Address
N/A



      6.     LEASES / EXECUTORY CONTRACTS. As and for adequate protection, the
Trustee shall disburse payments to creditors under leases or executory contracts prior to

                                               6
          Case 3:19-bk-00568-JAF          Doc 14    Filed 03/06/19     Page 7 of 16



confirmation, as soon as practicable, if the Plan provides for payment to creditor/lessor, the
creditor/lessor has filed a proof of claim or Debtor or Trustee has filed a proof of claim for the
secured creditor/lessor under § 501(c), and no objection to the claim is pending. If Debtor’s
payments under the Plan are timely paid, payments to creditors/lessors under the Plan shall be
deemed contractually paid on time.

      (a)     Assumption of Leases/Executory Contracts for Real or Personal Property to
      be Paid and Arrearages Cured Through the Plan. Debtor assumes the following
      leases/executory contracts and proposes the prompt cure of any prepetition arrearage as
      follows.

Last Four          Creditor/Lessor     Description of      Regular             Arrearage and
Digits of Acct.                        Leased              Contractual         Proposed Cure
No.                                    Property            Payment
N/A



      (b)     Assumption of Leases/Executory Contracts for Real or Personal Property to
      be Paid Directly by Debtor. Debtor assumes the following lease/executory contract
      claims that are paid via automatic debit/draft from Debtor’s depository account and are to
      continue to be paid directly to the creditor or lessor by Debtor outside the Plan via
      automatic debit/draft. The automatic stay is terminated in rem as to Debtor and in rem
      and in personam as to any codebtor as to these creditors and lessors upon the filing of this
      Plan. Nothing herein is intended to terminate or abrogate Debtor’s state law contract
      rights.

Last Four Digits of Acct.        Creditor/Lessor                  Property/Collateral
No.
N/A



      (c)     Rejection of Leases/Executory Contracts and Surrender of Real or Personal
      Leased Property. Debtor rejects the following leases/executory contracts and will
      surrender the following leased real or personal property. The automatic stay is terminated
      in rem as to Debtor and in rem and in personam as to any codebtor as to these creditors
      and lessors upon the filing of this Plan.

Last Four Digits of Acct.        Creditor/Lessor                  Property/Collateral to be
No.                                                               Surrendered
N/A


                                               7
            Case 3:19-bk-00568-JAF       Doc 14     Filed 03/06/19     Page 8 of 16




       7.     GENERAL UNSECURED CREDITORS. General unsecured creditors with
allowed claims shall receive a pro rata share of the balance of any funds remaining after
payments to the above referenced creditors or shall otherwise be paid under a subsequent Order
Confirming Plan. The estimated dividend to unsecured creditors shall be no less than $5,467.02
(100%).

D.     GENERAL PLAN PROVISIONS:

       1.     Secured creditors, whether or not dealt with under the Plan, shall retain the liens
              securing such claims.

       2.     Payments made to any creditor shall be based upon the amount set forth in the
              creditor’s proof of claim or other amount as allowed by an Order of the
              Bankruptcy Court.

       3.     If Debtor fails to check (a) or (b) below, or if Debtor checks both (a) and (b),
              property of the estate shall not vest in Debtor until the earlier of Debtor’s
              discharge or dismissal of this case, unless the Court orders otherwise. Property of
              the estate

              (a) _______ shall not vest in Debtor until the earlier of Debtor’s discharge or
              dismissal of this case, unless the Court orders otherwise, or

              (b) ___X___ shall vest in Debtor upon confirmation of the Plan.

       4.     The amounts listed for claims in this Plan are based upon Debtor’s best estimate
              and belief and/or the proofs of claim as filed and allowed. Unless otherwise
              ordered by the Court, the Trustee shall only pay creditors with filed and allowed
              proofs of claim. An allowed proof of claim will control, unless the Court orders
              otherwise.

       5.     Debtor may attach a summary or spreadsheet to provide an estimate of anticipated
              distributions. The actual distributions may vary. If the summary or spreadsheet
              conflicts with this Plan, the provisions of the Plan control prior to confirmation,
              after which time the Order Confirming Plan shall control.

       6.     Debtor shall timely file all tax returns and make all tax payments and deposits
              when due. (However, if Debtor is not required to file tax returns, Debtor shall
              provide the Trustee with a statement to that effect.) For each tax return that
              becomes due after the case is filed, Debtor shall provide a complete copy of the
              tax return, including business returns if Debtor owns a business, together with all
              related W-2s and Form 1099s, to the Trustee within 14 days of filing the return.
              Unless otherwise ordered, consented to by the Trustee, or ordered by the Court,

                                               8
            Case 3:19-bk-00568-JAF        Doc 14     Filed 03/06/19    Page 9 of 16




              Debtor shall turn over to the Trustee all tax refunds in addition to regular Plan
              payments. Debtor shall not instruct the Internal Revenue Service or other taxing

              agency to apply a refund to the following year’s tax liability. Debtor shall not
              spend any tax refund without first having obtained the Trustee’s consent or
              Court approval.

E.     NONSTANDARD PROVISIONS as Defined in Federal Rule of Bankruptcy
       Procedure 3015(c). Note: Any nonstandard provisions of this Plan other than those set
       out in this section are deemed void and are stricken.
               1. All timely plan payments received by the Chapter 13 Trustee are deemed
       timely payment to each creditor.
               2. Any post-petition costs or expenses incurred by or on behalf of any secured
       creditor will be discharged upon the completion of the plan, unless specifically provided
       for in this plan, or by further Order of Court on month filed pursuant to F.R.B.P. Rule
       3002.1(c), prior to the completion of the plan.
               3. If the Debtor has surrendered collateral securing a debt to the creditor and the
       creditor is entitled to file an unsecured deficiency claim, said claim must be filed within
       90 days of the date of Order Confirming Chapter 13 Plan, unless a Motion for Extension
       of Time is filed for good cause prior to the expiration of the 90 days and granted by this
       Court.



                                      CERTIFICATION

       By filing this document, the Attorney for Debtor, or Debtor, if not represented by an
attorney, certifies that the wording and order of the provisions in this Chapter 13 Plan are
identical to those contained in the Model Plan adopted by this Court, and that this Plan
contains no additional or deleted wording or nonstandard provisions other than any
nonstandard provisions included in Section E.

SIGNATURE(S):

Debtor(s)


/s/ Amanda Vrobel__________________________________                Date 3/6/19


Attorney for Debtor(s)


/s/ Candyce M. King________________________________                Date 3/6/19


                                                9
           Case 3:19-bk-00568-JAF          Doc 14     Filed 03/06/19     Page 10 of 16




                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing Chapter 13 Plan was
provided electronically or by U.S. Mail, postage pre-paid, to all creditors and interested parties in
this case, on this 6th day of March, 2019.

                                                      CANDYCE M. KING, P.A.
                                                      /s/ Candyce M. King
                                                      Candyce M. King
                                                      Florida Bar Number 307210
                                                      Sarah A. Mannion
                                                      Florida Bar Number 103087
                                                      2219 Park Street
                                                      Jacksonville, Fl 32204
                                                      904/387-9886; Fax 904/387-9862
                                                      Attorney for Debtor
                                                      kingcandyce@bellsouth.net




                                                 10
                             Case 3:19-bk-00568-JAF           Doc 14      Filed 03/06/19          Page 11 of 16

 A. Vrobel       1st Pmt   Plan Unsec pct   Unsec Amt Trustee %      Attorney Fees     Attorney Admin.       Bayview          Big Lots
 19-00568       3/20/2019    60 100.000%      $5,467.02   10.0%                               Fee
               Unsecured                    Debtor Pmt Tee Fee         $3,500.00          $1,500.00        $270,025.42        $1,964.21
 TOTALS        $5,467.02                    $137,715.60 $13,771.56     $3,500.00           $1,500.00       $101,445.60        $1,964.21
                                  60
   3/20/2019         $0.01    1               $2,295.26   $229.53           $325.00               $25.00        $1,690.76             $0.00
   4/20/2019         $0.01    2               $2,295.26   $229.53           $325.00               $25.00        $1,690.76             $0.00
   5/20/2019         $0.01    3               $2,295.26   $229.53           $325.00               $25.00        $1,690.76             $0.00
   6/20/2019         $0.01    4               $2,295.26   $229.53           $325.00               $25.00        $1,690.76             $0.00
   7/20/2019         $0.01    5               $2,295.26   $229.53           $325.00               $25.00        $1,690.76             $0.00
   8/20/2019         $0.01    6               $2,295.26   $229.53           $325.00               $25.00        $1,690.76             $0.00
   9/20/2019         $0.01    7               $2,295.26   $229.53           $325.00               $25.00        $1,690.76             $0.00
  10/20/2019         $0.01    8               $2,295.26   $229.53           $325.00               $25.00        $1,690.76             $0.00
  11/20/2019         $0.01    9               $2,295.26   $229.53           $325.00               $25.00        $1,690.76             $0.00
  12/20/2019         $0.01   10               $2,295.26   $229.53 10 at     $325.00               $25.00        $1,690.76             $0.00
   1/20/2020         $0.01   11               $2,295.26   $229.53 1 at      $250.00               $25.00        $1,690.76 11 at       $0.00
   2/20/2020      $111.79    12               $2,295.26   $229.53                                 $25.00        $1,690.76 1 at       $39.89
   3/20/2020      $111.56    13               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
   4/20/2020      $111.56    14               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
   5/20/2020      $111.56    15               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
   6/20/2020      $111.56    16               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
   7/20/2020      $111.56    17               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
   8/20/2020      $111.56    18               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
   9/20/2020      $111.56    19               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
  10/20/2020      $111.56    20               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
  11/20/2020      $111.56    21               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
  12/20/2020      $111.56    22               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
   1/20/2021      $111.56    23               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
   2/20/2021      $111.56    24               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
   3/20/2021      $111.56    25               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
   4/20/2021      $111.56    26               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
   5/20/2021      $111.56    27               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
   6/20/2021      $111.56    28               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
   7/20/2021      $111.56    29               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
   8/20/2021      $111.56    30               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
   9/20/2021      $111.56    31               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
  10/20/2021      $111.56    32               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
  11/20/2021      $111.56    33               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
  12/20/2021      $111.56    34               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
   1/20/2022      $111.56    35               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
   2/20/2022      $111.56    36               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
   3/20/2022      $111.56    37               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
   4/20/2022      $111.56    38               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
   5/20/2022      $111.56    39               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
   6/20/2022      $111.56    40               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
   7/20/2022      $111.56    41               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
   8/20/2022      $111.56    42               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
   9/20/2022      $111.56    43               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
  10/20/2022      $111.56    44               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
  11/20/2022      $111.56    45               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
  12/20/2022      $111.56    46               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
   1/20/2023      $111.56    47               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
   2/20/2023      $111.56    48               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
   3/20/2023      $111.56    49               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
   4/20/2023      $111.56    50               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
   5/20/2023      $111.56    51               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
   6/20/2023      $111.56    52               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
   7/20/2023      $111.56    53               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
   8/20/2023      $111.56    54               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
   9/20/2023      $111.56    55               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
  10/20/2023      $111.56    56               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
  11/20/2023      $111.56    57               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
  12/20/2023      $111.56    58               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
   1/20/2024      $111.56    59               $2,295.26   $229.53                                 $25.00        $1,690.76            $40.09
   2/20/2024      $111.56    60   60 at       $2,295.26   $229.53                      60 at      $25.00 60 at  $1,690.76 48 at      $40.09
                                                                               $0.00                   0                0                 0
                $5,467.02                   $137,715.60 $13,771.56         $3,500.00           $1,500.00       #########          $1,964.21
Unsec Amt        $5,467.02
                 100.000%
                             Case 3:19-bk-00568-JAF               Doc 14   Filed 03/06/19      Page 12 of 16

 A. Vrobel       1st Pmt  Plan      Jax Postal        Creditor6        Creditor7       Creditor8       Creditor9       Creditor10
 19-00568       3/20/2019   60
               Unsecured            $10,067.21        Claim Amt        Claim Amt       Claim Amt       Claim Amt       Claim Amt
 TOTALS        $5,467.02            $10,067.21

   3/20/2019       $0.01       1             $24.96
   4/20/2019       $0.01       2             $24.96
   5/20/2019       $0.01       3             $24.96
   6/20/2019       $0.01       4             $24.96
   7/20/2019       $0.01       5             $24.96
   8/20/2019       $0.01       6             $24.96
   9/20/2019       $0.01       7             $24.96
  10/20/2019       $0.01       8             $24.96
  11/20/2019       $0.01       9             $24.96
  12/20/2019       $0.01      10 10 at       $24.96
   1/20/2020       $0.01      11 1 at        $99.96
   2/20/2020     $111.79      12 1 at       $198.29
   3/20/2020     $111.56      13            $198.32
   4/20/2020     $111.56      14            $198.32
   5/20/2020     $111.56      15            $198.32
   6/20/2020     $111.56      16            $198.32
   7/20/2020     $111.56      17            $198.32
   8/20/2020     $111.56      18            $198.32
   9/20/2020     $111.56      19            $198.32
  10/20/2020     $111.56      20            $198.32
  11/20/2020     $111.56      21            $198.32
  12/20/2020     $111.56      22            $198.32
   1/20/2021     $111.56      23            $198.32
   2/20/2021     $111.56      24            $198.32
   3/20/2021     $111.56      25            $198.32
   4/20/2021     $111.56      26            $198.32
   5/20/2021     $111.56      27            $198.32
   6/20/2021     $111.56      28            $198.32
   7/20/2021     $111.56      29            $198.32
   8/20/2021     $111.56      30            $198.32
   9/20/2021     $111.56      31            $198.32
  10/20/2021     $111.56      32            $198.32
  11/20/2021     $111.56      33            $198.32
  12/20/2021     $111.56      34            $198.32
   1/20/2022     $111.56      35            $198.32
   2/20/2022     $111.56      36            $198.32
   3/20/2022     $111.56      37            $198.32
   4/20/2022     $111.56      38            $198.32
   5/20/2022     $111.56      39            $198.32
   6/20/2022     $111.56      40            $198.32
   7/20/2022     $111.56      41            $198.32
   8/20/2022     $111.56      42            $198.32
   9/20/2022     $111.56      43            $198.32
  10/20/2022     $111.56      44            $198.32
  11/20/2022     $111.56      45            $198.32
  12/20/2022     $111.56      46            $198.32
   1/20/2023     $111.56      47            $198.32
   2/20/2023     $111.56      48            $198.32
   3/20/2023     $111.56      49            $198.32
   4/20/2023     $111.56      50            $198.32
   5/20/2023     $111.56      51            $198.32
   6/20/2023     $111.56      52            $198.32
   7/20/2023     $111.56      53            $198.32
   8/20/2023     $111.56      54            $198.32
   9/20/2023     $111.56      55            $198.32
  10/20/2023     $111.56      56            $198.32
  11/20/2023     $111.56      57            $198.32
  12/20/2023     $111.56      58            $198.32
   1/20/2024     $111.56      59            $198.32
   2/20/2024     $111.56      60 48 at      $198.32
                                                  0                0               0               0               0                0
                $5,467.02                $10,067.21
Unsec Amt        $5,467.02
                 100.000%
                             Case 3:19-bk-00568-JAF          Doc 14     Filed 03/06/19        Page 13 of 16

 A. Vrobel       1st Pmt  Plan     Creditor11       Creditor12      Creditor13       Creditor14       Creditor15       Creditor16       Credit
 19-00568       3/20/2019   60
               Unsecured           Claim Amt        Claim Amt       Claim Amt        Claim Amt        Claim Amt        Claim Amt        Claim
 TOTALS        $5,467.02

   3/20/2019       $0.01       1
   4/20/2019       $0.01       2
   5/20/2019       $0.01       3
   6/20/2019       $0.01       4
   7/20/2019       $0.01       5
   8/20/2019       $0.01       6
   9/20/2019       $0.01       7
  10/20/2019       $0.01       8
  11/20/2019       $0.01       9
  12/20/2019       $0.01      10
   1/20/2020       $0.01      11
   2/20/2020     $111.79      12
   3/20/2020     $111.56      13
   4/20/2020     $111.56      14
   5/20/2020     $111.56      15
   6/20/2020     $111.56      16
   7/20/2020     $111.56      17
   8/20/2020     $111.56      18
   9/20/2020     $111.56      19
  10/20/2020     $111.56      20
  11/20/2020     $111.56      21
  12/20/2020     $111.56      22
   1/20/2021     $111.56      23
   2/20/2021     $111.56      24
   3/20/2021     $111.56      25
   4/20/2021     $111.56      26
   5/20/2021     $111.56      27
   6/20/2021     $111.56      28
   7/20/2021     $111.56      29
   8/20/2021     $111.56      30
   9/20/2021     $111.56      31
  10/20/2021     $111.56      32
  11/20/2021     $111.56      33
  12/20/2021     $111.56      34
   1/20/2022     $111.56      35
   2/20/2022     $111.56      36
   3/20/2022     $111.56      37
   4/20/2022     $111.56      38
   5/20/2022     $111.56      39
   6/20/2022     $111.56      40
   7/20/2022     $111.56      41
   8/20/2022     $111.56      42
   9/20/2022     $111.56      43
  10/20/2022     $111.56      44
  11/20/2022     $111.56      45
  12/20/2022     $111.56      46
   1/20/2023     $111.56      47
   2/20/2023     $111.56      48
   3/20/2023     $111.56      49
   4/20/2023     $111.56      50
   5/20/2023     $111.56      51
   6/20/2023     $111.56      52
   7/20/2023     $111.56      53
   8/20/2023     $111.56      54
   9/20/2023     $111.56      55
  10/20/2023     $111.56      56
  11/20/2023     $111.56      57
  12/20/2023     $111.56      58
   1/20/2024     $111.56      59
   2/20/2024     $111.56      60
                                                0           $0.00                0                0                0                0
                $5,467.02
Unsec Amt        $5,467.02
                 100.000%
                             Case 3:19-bk-00568-JAF          Doc 14      Filed 03/06/19        Page 14 of 16

 A. Vrobel       1st Pmt  Plan Creditor17       Creditor18       Creditor19       Creditor20
 19-00568       3/20/2019   60
               Unsecured       Claim Amt        Claim Amt        Claim Amt        Claim Amt
 TOTALS        $5,467.02

   3/20/2019       $0.01       1
   4/20/2019       $0.01       2
   5/20/2019       $0.01       3
   6/20/2019       $0.01       4
   7/20/2019       $0.01       5
   8/20/2019       $0.01       6
   9/20/2019       $0.01       7
  10/20/2019       $0.01       8
  11/20/2019       $0.01       9
  12/20/2019       $0.01      10
   1/20/2020       $0.01      11
   2/20/2020     $111.79      12
   3/20/2020     $111.56      13
   4/20/2020     $111.56      14
   5/20/2020     $111.56      15
   6/20/2020     $111.56      16
   7/20/2020     $111.56      17
   8/20/2020     $111.56      18
   9/20/2020     $111.56      19
  10/20/2020     $111.56      20
  11/20/2020     $111.56      21
  12/20/2020     $111.56      22
   1/20/2021     $111.56      23
   2/20/2021     $111.56      24
   3/20/2021     $111.56      25
   4/20/2021     $111.56      26
   5/20/2021     $111.56      27
   6/20/2021     $111.56      28
   7/20/2021     $111.56      29
   8/20/2021     $111.56      30
   9/20/2021     $111.56      31
  10/20/2021     $111.56      32
  11/20/2021     $111.56      33
  12/20/2021     $111.56      34
   1/20/2022     $111.56      35
   2/20/2022     $111.56      36
   3/20/2022     $111.56      37
   4/20/2022     $111.56      38
   5/20/2022     $111.56      39
   6/20/2022     $111.56      40
   7/20/2022     $111.56      41
   8/20/2022     $111.56      42
   9/20/2022     $111.56      43
  10/20/2022     $111.56      44
  11/20/2022     $111.56      45
  12/20/2022     $111.56      46
   1/20/2023     $111.56      47
   2/20/2023     $111.56      48
   3/20/2023     $111.56      49
   4/20/2023     $111.56      50
   5/20/2023     $111.56      51
   6/20/2023     $111.56      52
   7/20/2023     $111.56      53
   8/20/2023     $111.56      54
   9/20/2023     $111.56      55
  10/20/2023     $111.56      56
  11/20/2023     $111.56      57
  12/20/2023     $111.56      58
   1/20/2024     $111.56      59
   2/20/2024     $111.56      60
                                            0                0                0                0
                $5,467.02
Unsec Amt        $5,467.02
                 100.000%
                             Case 3:19-bk-00568-JAF
Label Matrix for local noticing              Amanda Vrobel Doc 14 Filed 03/06/19                     Page  15 Loan
                                                                                                       Bayview of 16
                                                                                                                   Servicing
113A-3                                       2846 Circle Ridge Drive                                      5225 Crooks Rd
Case 3:19-bk-00568-JAF                       Orange Park, FL 32065-5766                                   Troy, MI 48098-2823
Middle District of Florida
Jacksonville
Wed Mar 6 15:34:17 EST 2019
Big Lots                                     Capio Partners Llc                                           (p)CHOICE RECOVERY INC
4900 E Dublin Granville Rd                   Attn: Bankruptcy                                             1550 OLD HENDERSON ROAD
Westerville, OH 43081-7651                   Po Box 3498                                                  STE 100
                                             Sherman, TX 75091-3498                                       COLUMBUS OH 43220-3662


Clay County Tax Collector                            Credit Collections Services                          Credit One Bank
Post Office Box 218                                  Attention: Bankruptcy                                Attn: Bankruptcy
Green Cove Springs FL 32043-0218                     725 Canton Street                                    Po Box 98873
                                                     Norwood, MA 02062-2679                               Las Vegas, NV 89193-8873


Florida Dept. of Revenue                             Internal Revenue Service                             Jax Postal & Prof Cr U
Bankruptcy Unit                                      PO Box 7346                                          1820 Rogero Rd
P.O. Box 6668                                        Philadelphia, PA 19101-7346                          Jacksonville, FL 32211-4115
Tallahassee, FL 32314-6668


Melissa Lynn Mandel                                  Midland Funding                                      Midwest Recovery Systems
1958 Vista Lakes DR                                  2365 Northside Dr Ste 300                            Po Box 899
Fleming Island, FL 32003-7312                        San Diego, CA 92108-2709                             Florissant, MO 63032-0899



Orange Park Medical Center                           Portfolio Recovery                                   Recmgmt Srvc
Resurgent Capital Services                           Po Box 41021                                         Attn: Bankruptcy
PO Box 1927                                          Norfolk, VA 23541-1021                               4200 Cantera Drive, Suite 211
Greenville, SC 29602-1927                                                                                 Warrenville, IL 60555-3040


Resurgent Capital Services                           Rev-1 Solutions, Llc                                 United States Attorney
PO Box 1927                                          Attn: Bankruptcy                                     300 North Hogan St Suite 700
Greenville, SC 29602-1927                            517 Us Highway 31 N.                                 Jacksonville, FL 32202-4204
                                                     Greenwood, IN 46142-3932


Candyce M. King +                                    United States Trustee - JAX 13/7 7+                  Douglas W Neway +
Candyce M. King, P.A.                                Office of the United States Trustee                  Post Office Box 4308
2219 Park Street                                     George C Young Federal Building                      Jacksonville, FL 32201-4308
Jacksonville, FL 32204-4315                          400 West Washington Street, Suite 1100
                                                     Orlando, FL 32801-2210

Note: Entries with a ’+’ at the end of the
name have an email address on file in CMECF




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).
Choice Recovery                Case 3:19-bk-00568-JAF               Doc 14         Filed 03/06/19      Page 16 of 16
1550 Old Henderson Road
Suite 100
Columbus, OH 43220




                   The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Jerry A. Funk                                       End of Label Matrix
Jacksonville                                           Mailable recipients    24
                                                       Bypassed recipients     1
                                                       Total                  25
